Case 1:15-cr-00381-RJD-RER Document 390-1 Filed 03/19/19 Page 1 of 8 PageID #: 4199



   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   ------------------------------X
   UNITED STATES OF AMERICA                    :
                   -against-                   :      ORDER FOR EXONERATION
                                                      OF CASH BAIL AND PROPERTY
   VLADISLAV KHALUPSKY,                        :      LIEN
                   Defendant.                  :      15-CR-381 (RJD)
   ------------------------------X
        The defendant, Vladislav Khalupsky, having surrendered for
   service of sentence, Mr. Khalupsky now moves for exoneration of his
   bond. The Government having no objection to the motion, good cause
   appears    to   grant   Mr.   Khaluspky’s       motion,   the   only   remaining
   conditions of the bond being the posting of $40,000 cash bail and
   the lien on the property located at                                            ,
   Florida.    It is, therefore, hereby;
        ORDERED, that Mr. Khalupsky’s bond be exonerated in all
   respects; and it is further
        ORDERED, that the Clerk of the Court is directed to return the
   $40,000 cash bail, posted by Marina Khalupskaya to secure the
   defendant’s appearance, to Ms. Khalupskaya either by depositing the
   funds, together with any interest owed to her in the bank account
   listed below:
               Routing#:
               Account#:
Case 1:15-cr-00381-RJD-RER Document 390-1 Filed 03/19/19 Page 2 of 8 PageID #: 4200



   or by making a check payable to her in the amount of $40,000,
   together with any interest owed to her, and mailing such check to
   the following address:
              Ms. Marina Khalupskaya


   and it is further
        ORDERED, that the lien be lifted from the property belonging
   to Igor Brodsky, located at                                      , Florida.



   Dated:     Brooklyn, NY                  SO ORDERED
              March     , 2019


                                            The Honorable Raymond J. Dearie




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RER
-RER Document
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                                    P



 SXRPCourt Name: Eastern District of New York

 Division: 1
 Receipt Number:
 Cashier ID:
 Transaction Date: 09/11/2017
 Payer Name: Marina Khalupskaya

 TREASURY REGISTRY
  For: Vladislav Khalupsky
  Case/Party: D-NYE-1-15-CR-000381-002
  Amount:          $40,000.00

 PAPER CHECK CONVERSION
  Amt Tendered: $40,000.00

 Total Due:      $40,000.00
 Total Tendered: $40,000.00
 Change Amt:     $0.00
Case
 Case1:15-cr-00381-RJD-RER
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                                                                                   4202




   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
                                           X
   UNITED STATES OF AMERICA,
                                                        ORDER
                                                        FOR ACCEPTANCE OF CASH BAIL
                 -against-

                                                        Docket No




          Bail having been fixed by Hon.                        in the above entitled action in the

   amount of                         of which sum $ ^0^ /ITTf). fTQ               in cash is to be
   deposited with the Clerk ofthe Court.

          It is hereby ordered that the Clerk, United States District Court for the Eastem District of

   New York accept the said amount of $. HQ gsi).                         when tendered on behalf
   ofthe above defendant.


          SO ORDERED.


   Dated: Brooklyn, New York


                                                   S/ RLM
                                                  NITED STATES MAGISTRATE JUDGE



   Receipt No.
         Case
         ~z   1:15-cr-00381-RJD-RER
               ~                    Document 390-1
                                         Receipt # Filed 03/19/19 Page 5 of 8 PageID #: 4203
    ~~, , •~,~ ' ~, c ~~                   Transaction #
   ~:• ~        ,°'oG ~/                      Cashier By: Judy
   Y~       ~ s "`: ¢ j                 Cashier Date: October 24, 2017
  j~ ~   'I       ~ ~i
                 =
  +~~~1~+\tEa c`~~
         *~~~.

 Name:        ELLEN BRODSKY
 Address:



 DOCUMENTS
 Correspondence

 Affidavit                       CFN:                Book:        Page:        Total Fees:   $18.50

 Check                     138                                                   Amount:     $18.50

                                                                               Total Fees:   $18.50
                                                                          Total Payments:    $18.50




10/24/2017 2:05:32PM                             rv.o2oa                                      Page 1 of 1
Case 1:15-cr-00381-RJD-RER Document 390-1 Filed 03/19/19 Page 6 of 8 PageID #: 4204



   Federal Defenders                                          Qne Pierrepc~nt Plaza-16th Floar, Brcx~klyn, NY ~t1201
   O F NEW                   YORK , i ti' C .                                 Tel: (718) 330-7200 Fax: (71~) 855-0760


   David E. Patton                                                                   Deirdre D. von Dornuii~
   Executez;e Director and                                                                         Attorney-in-Charge
   A tmrney-in-Chief




                                                                    October 18, 2017

  Delivered Via Mail
  Flagler County Clerk of the Circuit Court &Comptroller
  Kim C. Hammond Justice Center
  1769 E Moody Blvd, Bldg 1
  Bunnell, FL 32110
  Attention: Official Records


                                                  Property Lien

  To whom it may concern,

      This letter encloses an Affidavit of Confession of Judgment to place a Lien on a property owned by
  Igor Brodsky. The Affidavit has been signed by Mr. Brodsky in front of a Notary Pubiic. The property is
  located                                         .

      Please let me know if there is any issue recording the document. I can be reached at the contact
  information listed below. Additionally, please feel free to send me an invoice for the process.

        i appreciate your attention to this matter.



                                                                        Sincerely,



                                                                        Rachel Bass, Paralegal
                                                                        Federal Defenders of New York, Inc.
                                                                        Tel: (718) 407-4718
                                                                        Fax: (718) 855-0760
                                                                        Rachel_Bass@fd.org
  Case 1:15-cr-00381-RJD-RER Document 390-1 Filed 03/19/19       Page10!24/2017
                                                   Inst No: 2017037277 7 of 8 PageID
                                                                                2:05 PM #: 4205
                                                                                                        BK2237 PG:1507 PAGES:2
                                                                                                        RECORDED IN THE RECORDS OF
                       X 245—Confession of Judgment. Ind. or Corp. Blnnk Coart.                    ~,   Tom Bexley Clerk of the Circud Court &Comptroller
                                                                                                        Flagler FL

      COUNTY OF                Flagler

     UNITED STATES OF AMERICA

                                                                                                 Plaintif~'(s)                     AFFIDAVIT OF
                                                       against                                                                    CONFESSION OF
      Igor Brodsky                                                                                                                  JUDGMENT


                                                                                              Defendants)

     S TATE OF FLORIDA                           COUNTY OF FLAGLER                                               ss.:
                                                                                              being duly sworn, deposes and says; that deponent is

    ~ I~                                    XQ~X
    a                          4~4fI~4~I4~i44lC~K~4'X~H                                                                                          3ddC~~l[~itX~fd~
    defendant herein.
           The defendant hereby confesses judgment                                        7d; authori2es entry thereof againsf defendant in the
   sum of $ 2,000,000 (Two Million Dollars)
          Defendant resides at 7 Evansmill Lane, Palm
   in the County of Flagler                      State                                                                        Defendant authorizes entry
    of judgment in Fla~ler                             '
                                                Count

           This confession of judgment is for ~a~d~b.t j                                        BECOME                due fo the plaintiff arising from
                                                5~.. ~,~
    the following facts:                        ~~ri
                                              '~~S=iJ `~

  Igor Brodsky                                ~~~ ~j~ ~ ~'~                        HAVE EXECUTED A BAIL
  BOND IN THE UNITED STATES              DISTI~`iC~;`~GpU;RT              FOR THE  EASTERC~T  DISTRICT OF
  NEW YORK IN       THE    AMOUNT     OF  $ 2,00(~~0'`•  ;~~;~_  j~;        IN THE  UNITED    STATES OF
  A MERICA     VS. Vladislav Khalupsky            ,~,~; , ~~~R~r     INAL    DOCKET  NO.  15-CR-381
  AND HAVE EXECUTED THIS AFFIDAVIT'AN+Bk~1~UTHORIZED THE ENTRY OF JUDGEMENT
  AGAINST THEMSELVES FOR $ 2,000,000                    f~1j -~,~TO SECURE THE UNITED STATES IN
  THE EVENS THAT VladislavKhalupsky                    ~'°"'`~..r•~-~''"`   SHOULD BREACH A CONDITION
  OF HIS/HER BAIL_ - TfiE S[TRETIES              WAIVE           ANY      RIGHTS THEY MAY HAVE UNDER
  -----_                                                                      52 OF  THE CIVIL PROCEDURE
  THE   HOMESTEAD      EXEMPTION       CONTAINED         IN      ARTICLE
  L AW  AND    RULES.      THIS   BOND   IS   SECURED            BY     PROPERTY  OWNED   BY THE
  DEFENDANT (S) LOCATED AT
  COUNTY OF Flagler




       This affidavit, if made in connection with an agreement for the purchase for $1,500.00 or less of any com-
 maditzes for any use other than a commercial or business use upon any plan of deferred payments whereby the
 price or cost is payable in two or more i~,~fallments, was executed subsequent       ime a default occr~rred in
 the payment of an installment thereurjd,~~
                                                  '~        •   ~b         ~~

S worn to before me this                                a=,. n: '+ , 4'
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             da'y Of                                p'$A
                                                    ~"~'.         '~"
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                                                                                                            The name signed musf be printed beneath

                                             ~    ' , a'-        ~ ,e,~,            -'.
                                                                                    ~ .   Igor Brodsky
                         AC
#      ~ e ottt m  er in riuren[hesi if , kenilnnt is indivLdxal. ~~
• Insert words        Uecome" if debt is nit yef due.            e~             r         '
•~° Tf in a city court, insert name of coill~T1CL~X4
                                          tN~WL~I~I         '• ` ..

                              NOTARY PUBLIC OF I~WJERSEY
                            MY COIY~SSI0~1EXPIRES JUNE 11.2026
Case 1:15-cr-00381-RJD-RER Document 390-1 Filed 03/19/19 Page 8 of 8 PageID #: 4206


      COUNTY OF                            ~~~~~~~                                                                                  Index No.
                                                                                                                                    flddress of Plaintiff:
       UNITED STATES OF AMERICA
                                                                                          Piaintrff(s)
                                              against

                                            ~(~spo~8 ~06~                          Defen~anr(sj                                         JUDGMENT B~'
                                                                                                                                         CONFESSION
      A mount Confessed   -   -   -   -   -   -   -   -   -                                       $
          Interest -    -   -   -   -   -   -   -   -   -   -
                                                                                                                                           ~                             000`000`Z
     Cosfs by Statute -    -   -   -   -   -   -   -   -   -
     TraRscrrpt -    -   -   -   -   -   -   -   -   -   -   -
     Fees on Execution     -   -   -   -   -   -   -   -   -
     Satisfaction    -   -   -   -   -   -   -   -   -   -   -
     Filing Fee   -    -   -   -   -   -   -   -   -   -   -


      STATE OF NEW YORK, COUNTY OF                                                  ATTORNEY'S AFFIRMATION
             The undersigned, attorney at law of the State of New York, affirms that      he is AN ASSISTANT
     UNITED STATES ATTORNEY (EASTERN DISTRICT OF NEW YORK)
     attorneys} of record for the plaintiff       herein and states that the disbursements above specified are correct
     and true and have been or will necessarily be made or incurred herein and are reasonable in amount and affirms
     phis statement to be trite under the penalties of perjury.
    Dated:                                                              ----------~----
                                                                                      •---~-~---------•   --•------------- -•--------------•---~-•--- -- -----~--- -- ---------
                                                                        Print Name Beneath Slanature

          JUDGMENT entered the                      day of                        19
          On filing the foregoing affidavit of Confession of Judgment made by the defendant                                                     herein, sworn to
    the               day of                            19
          NOW, ON MOTION OF
    attorneys) for plaintiff    it is
          ADJUDGED that UNITED STATES OF AMERICA
                                                                                                                                                     plaintiff              ,
    residing at 225 CADMAN PLAZA EAST, BROOKLYN, NEW YORR
    do recover of                                                                                                        ,Cxspoig ualt3
                                                                                                                                                  defendant                 ,
    residing at                                                                  `aue~ ~~►msueng ~
                                                                                          3SE0~ LU[Ed

    the sum of $             000`000`Z ~'Iih interest of $                   making a total of $                                                                000`000`Z
    t ogether with $                      costs and disbursements, amounting in all to the sum of $
    and that the plaintiff      have execution therefor.


                                                                       -----------••--•------ ---~- ~                    -~--- ----------------- -- - - -- - -Clerk
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